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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

               Plaintiff,

        v.                                                   Case No. 93-cr-40050-JPG

DAVID REED,

               Defendant.

                                MEMORANDUM AND ORDER

       This matter comes before the Court on defendant David Reed’s “Motion to Perfect the

Appeal and to Take Judicial Notice U/R 201” (Doc. 179) and motion for transcripts (Doc. 188).

I.     Motion to Perfect the Appeal and to Take Judicial Notice U/R 201 (Doc. 179)

       In the motion, Reed attacks his counsel’s performance in connection with a potential

sentence reduction, his original trial and his sentencing.

       The Court construes Reed’s motion as a motion under 28 U.S.C. § 2255 despite the fact

that it is not explicitly labeled as such. “Any motion filed in the district court that imposed the

sentence, and substantively within the scope of §2255 ¶1, is a motion under §2255, no matter

what title the prisoner plasters on the cover.” Melton v. United States, 359 F.3d 855, 857 (7th

Cir. 2004); accord Curry v. United States, 507 F.3d 603, 604 (7th Cir. 2007).

       This is not Reed’s first § 2255 motion. He filed his first motion in May 2001, and the

Court denied it as time-barred under 28 U.S.C. § 2255(f). See Reed v. United States, No. 01-cv-

4135-JPG. He has also filed two unauthorized second motions (Docs 149 & 150). The pending

motion is yet a third impermissible successive motion. A post-judgment motion that advances a

new claim, that is, a new ground for relief from a conviction, or an attack on the Court’s prior

resolution of a ground for relief on the merits is a successive petition. See Gonzalez v. Crosby,
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545 U.S. 524, 531 (2005) (habeas context); see United States v. Scott, 414 F.3d 815, 816 (7th

Cir. 2005) (considering post-judgment Rule 6(e) motion). However, a motion that does not

assert or reassert claims of error in the conviction and instead points to a defect in the integrity of

the § 2255 proceedings is not a successive petition. Gonzalez, 545 U.S. at 532; see Scott, 414

F.3d at 816.

       Reed’s pending motion asserts errors in his original trial and sentencing. He makes

reference to the Court’s lack of jurisdiction, but his arguments appear to be substantive attacks

on his conviction. Therefore, it is a successive petition under the rule of Gonzalez. In order for

this Court to consider a successive petition, the Seventh Circuit Court of Appeals must certify

the successive petition pursuant to 28 U.S.C. § 2255(h). Curry v. United States, 507 F.3d 603,

604 (7th Cir. 2007), cert. denied, 128 S. Ct. 2925 (2008); Nunez v. United States, 96 F.3d 990,

991 (7th Cir. 1996). The Court of Appeals has not made such a certification. Therefore, the

Court does not have jurisdiction to consider Reed’s motion (Doc. 179) and DISMISSES it for

lack of jurisdiction.

II.    Motion for Transcripts (Doc. 188)

       In this motion, Reed asks the Court for free copies of the transcripts of his 1994 trial for

use in filing a § 2255 motion. This is Reed’s second such request (See Doc. 160).

       The court reporter has prepared transcripts of Reed’s trial in connection with his direct

appeal of his conviction. However, defendants have no constitutional right to a complimentary

copy of any document in their court files. See United States v. Groce, 838 F. Supp. 411, 413,

414 (E.D. Wis. 1993). Before providing copies free of charge, a district court may require the

requestor to show: (1) that he has exhausted all other means of access to his files (i.e., through

his trial and appellate counsel), (2) that he is financially unable to secure access to his court files

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(i.e., through a showing similar to that required in 28 U.S.C. § 1915(a)(2) which includes a

certified copy of the prisoner’s trust account for the previous six-month period prior to filing),

and (3) that the documents requested are necessary for the preparation of some specific non-

frivolous court action. See United States v. Wilkinson, 618 F.2d 1215, 1218-19 (7th Cir. 1980);

Rush v. United States, 559 F.2d 455, 459 (7th Cir. 1977); Groce, 838 F. Supp. at 413-14. These

minimal requirements do not impose any substantial burden to financially unable prisoners who

desire their records be sent to them at government expense.

       As with his prior motion for transcripts, Reed has not shown he has exhausted his other

means of obtaining the transcript of his trial, nor has he shown he is financially unable to pay for

a copy of his transcript from the court reporter. More importantly, he has not demonstrated the

transcript is necessary for a non-frivolous court action. The Court is suspect of his assertion that

he needs the transcript to prepare a § 2255 motion. As noted above, Reed has already filed such

a motion and three unauthorized successive motions (Docs. 149, 150 & 179). Reed has not

convinced the Court that the Seventh Circuit Court of Appeals would be likely to grant

permission to advance an argument in a successive petition and that he needs the transcripts to

present that argument. Therefore, the Court cannot say that the transcript is necessary.

       For the foregoing reasons, the Court DENIES Reed’s motion for a free copy of his trial

transcripts (Doc. 188).

IT IS SO ORDERED.
DATED: July 27, 2010
                                              s/ J. Phil Gilbert
                                              J. PHIL GILBERT
                                              DISTRICT JUDGE




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